         Case 1:19-cr-00366-LGS Document 195 Filed 05/27/21 Page 1 of 2
                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                         For substantially the reasons stated in the Government's
                                         May 26, 2021, letter (Dkt. No. 193), the conference
                                         schedule for May 27, 2021, (Dkt. No. 192) is CANCELLED.
BY ECF
                                         So Ordered.
The Honorable Lorna G. Schofield
United States District Court             Dated: May 27, 2021
Southern District of New York
                                                New York, New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, S1 19 Cr. 366 (LGS)

Dear Judge Schofield:

        The Government respectfully writes in response to the Court’s Order of May 26, 2021
(Dkt. 192) and in advance of the May 27, 2021 telephone conference. The Government does not
intend to rely at trial on any information designated “Secret,” “Top Secret,” or any other
classification level. 1

       Accordingly, in order to inform discussion at tomorrow’s conference, the Government can
provide the following information in response to the Court’s topics of inquiry, following the
numbering set forth in the Order:

       1. The Government does not intend to present any classified information to jurors;
       2. The Government does not seek to introduce any classified evidence, and accordingly
          there are no constraints for the storage and presentation of any such evidence;
       3. No part of the trial will reveal classified information, and the Government does not
          seek to deny public access to any part of the trial;
       4. Because this trial will not involve any classified evidence , the defendant and defense
          counsel do not need clearance to review any classified evidence;
       5. The Government does not intend to disclose any classified evidence to the defense;




1
  The Government has never intended to convey to the Court that it intended “to rely at trial on
information designated ‘Secret,’” Dkt. 192 at 1, or “to rely at trial on information designated ‘Top
Secret,’” id., and apologizes for any confusion in that regard.
         Case 1:19-cr-00366-LGS Document 195 Filed 05/27/21 Page 2 of 2

                                                                                            Page 2


       6. The Government does not anticipate any trial proceedings reflecting classified
          information, and thus no court reporters need clearance for the purpose of recording
          trial proceedings;
       7. The Government does not intend to offer any classified documents into evidence;
       8. The Government does not intend to rely on Top Secret, or otherwise classified,
          materials.

        The Government, as it has informed the Court and defense counsel, does intend to make a
motion under the Classified Information Procedures Act (“CIPA”), 18 U.S.C. App. 3, seeking
relief not regarding the introduction of classified evidence at trial. Under the procedures set forth
in CIPA, the Government will provide the Court with more information regarding its requested
relief.

       We remain ready to answer any of the Court’s remaining unclassified questions at
tomorrow’s conference.

                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              United States Attorney

                                          by: /s/ Paul M. Monteleoni
                                              Paul M. Monteleoni
                                              Hagan C. Scotten
                                              Alexandra N. Rothman
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                                              (212) 637-2219/2410/2580

cc: Counsel of Record (via ECF)
